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IN THE UNITED STATES DISTRICT COURT { 7
MIDDLE DISTRICT OF FLORIDA e% i
ORLANDO DIVISION obs
DAVID TOM Case No.
Plaintiff,
v. JURY TRIAL DEMANDED
7TH ACE LLC D/B/A
American Claims Enterprises
Defendant.

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff David Tom (“Mr.Tom”), pro se files this complaint against Defendant 7TH ACE
LLC D/B/A American Claims Enterprises, as well as its present, former and future direct and

indirect parent companies, subsidiaries, affiliates, agents and related entities, alleges as follows:

I. INTRODUCTION

1. Nature of Action: “Telemarketing calls are intrusive. A great many people object
to these calls, which interfere with their lives, tie up their phone lines, and cause confusion and
disruption on phone records. Faced with growing public criticism of abusive telephone
marketing practices, Congress enacted the Telephone Consumer Protection Act of 1991. Pub. L.
No. 102-243, 105 Stat. 2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the
law was a response to Americans ‘outraged over the proliferation of intrusive, nuisance calls to
their homes from telemarketers,’ id. § 2(6), and sought to strike a balance between
‘{iJndividuals’ privacy rights, public safety interests, and commercial freedoms,’ id. § 2(9).”

Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649 (4th Cir. 2019).
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2. “[T]he law opted for a consumer-driven process that would allow objecting
individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations
was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal
government’s web of indecipherable acronyms and byzantine programs, the Do-Not-Call registry
stands out as a model of clarity. It means what it says. If a person wishes to no longer receive
telephone solicitations, he can add his number to the list. The TCPA then restricts the telephone
solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is an
abusive telemarketing act or practice and a violation of this Rule for a telemarketer to...
initiat[e] any outbound telephone call to a person when .. . [t]hat person’s telephone number is
on the “do-not-call” registry, maintained by the Commission.’). . . . [P]rivate suits can seek either
monetary or injunctive relief. [47 U.S.C. § 227(c)(5S)]. . . . This private cause of action is a
straightforward provision designed to achieve a straightforward result. Congress enacted the law
to protect against invasions of privacy that were harming people. The law empowers each person
to protect his own personal rights. Violations of the law are clear, as is the remedy. Put simply,
the TCPA affords relief to those persons who, despite efforts to avoid it, have suffered an
intrusion upon their domestic peace.” Jd. at 649-50.

3. Plaintiff brings this action against Defendant for violations of the Telephone
Consumer Protection Act, 47 U.S.C. § 227 (‘TCPA”) for making telemarketing calls to his
telephone number on the National Do Not Call Registry and failing to provide their do not call

policy pursuant to TCPA regulation 47 C.F.R. § 64.1200(d).

Il. PARTIES

4. Plaintiff Tom is an individual who resides in the Middle District of Florida.
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5. Defendant 7TH ACE LLC D/B/A American Claims Enterprises is a Florida LLC that
offers asset recovery services via telephone by making calls to numbers on the National Do Not

Call Registry. Its headquarters and principal place of business is in Tampa, Florida.

Il. JURISDICTION AND VENUE

6. Jurisdiction. This Court has federal-question subject matter jurisdiction over
Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. 47
U.S.C. § 227; Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012).

7. Personal Jurisdiction: The Court has specific personal jurisdiction over Defendants

because they made calls within the Middle District of Florida to a recipient in the Middle District

of Florida.

8. Venue: Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a
substantial part of the events giving rise to Plaintiff's claims—namely, the illegal telemarketing

at issue—were orchestrated from this District.

IV. FACTS
A. The Enactment of the TCPA and its Regulations

9. In 1991, Congress enacted the TCPA in response to a growing number of
consumer complaints regarding certain telemarketing practices.

10. Section 227(c) of the TCPA requires the FCC to “initiate a rulemaking proceeding
concerning the need to protect residential telephone subscribers’ privacy rights to avoid receiving

telephone solicitations to which they object.” 47 U.S.C. § 227(c)(1).
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11. The National Do Not Call Registry allows consumers to register their telephone
numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.
See 47 C.F.R. § 64.1200(c)(2).

12. _ A listing on the Registry “must be honored indefinitely, or until the registration is
cancelled by the consumer or the telephone number is removed by the database administrator.”
Id.

13. The TCPA and implementing regulations prohibit the initiation of telephone
solicitations to residential telephone subscribers to the Registry and provides a private right of
action against any entity that makes those calls, or “on whose behalf” such calls are made. 47

U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

B. Unsolicited Telemarketing to Plaintiff

14. Plaintiff Tom is, and at all times mentioned herein was, a “person” as defined by
47 U.S.C. § 153(39).

15. | Defendant was and at all times mentioned herein was a “person” as defined by
47 U.S.C. § 153(39).

16. At no point did Plaintiff consent to receiving telemarketing calls from the
Defendant prior to receiving the calls at issue.

17. _ Plaintiff’s residential landline telephone number is (321)-7XX-XXXX, is on the
National Do Not Call Registry, and has been for more than a year prior to the calls at issue.

18. Plaintiffs residential cellular telephone number is (321)-9XX-XXXX, is on the
National Do Not Call Registry, and has been for more than a year prior to the calls at issue.

19. Both Numbers are non-commercial telephone numbers that are primarily used for

residential purposes.
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20. Plaintiff Tom uses the Numbers for personal, residential, and household needs
and reasons.

21. The Numbers are residential telephone lines because they are assigned to a
telephone exchange service for consumers and are not assigned to a telephone exchange service
for businesses.

22. | Both Numbers have been on the National Do Not Call Registry since June of
2003, nearly 21 years as of this filing.

23. Plaintiff a call from Defendant offering their asset recovery services on
commission in April of 2024.

24. During that call, Plaintiff recorded the caller for Defendant offering their services.

25. Plaintiff feigned interest to identify the legal entity of the caller and was emailed
by the Defendant’s principal, Alan Edwards with the name of his company and a proposal with
their fee structure for the investigative and administrative services provided.

26. Plaintiff Tom never consented to receive calls from Defendant.

27. Plaintiff Tom never did business with the Defendant.

28. The call was unwanted.

29. The call was a nonconsensual encounter.

30. Plaintiff, then emailed Defendant notifying them of his do not call list registration
and requested the relevant Do Not Call Policy required under law.

31. Defendant failed to provide to Plaintiff their Do Not Call Policy. When asked to
resolve the claims of failure to provide a Do Not Call Policy and illegal telemarketing call —

Defendant stated in an email April 19" 2024 — “Go ahead and file a case against me”.
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32. | Acopy of the email where Defendant states his request for litigation is
incorporated herein as “PLAINTIFFS EXHIBIT A”.

33. Plaintiff is more than happy to oblige Defendant for the request to file a federal
case against them.

34. Defendant is liable for telemarketing calls by them to generate customers for
Defendant.

35. Defendant was offered an opportunity to explain the illegal calls at issue and to
provide a Do Not Call Policy as required by federal law.

36. Instead, Defendant doubled down and refused to respond to the request for a Do
Not Call Policy and invited litigation upon themselves citing (paraphrased) that they were a
small home-based business just trying to earn a living during these trying times.

37. Plaintiff's privacy has been violated by the above-described telemarketing call.

38. Plaintiff never provided his consent or requested the call.

39. Plaintiff was harmed by the acts of Defendant because Plaintiff’s privacy has been
violated, Plaintiff was annoyed and harassed. In addition, the call occupied Plaintiff's telephone
line, storage space, and bandwidth, rendering them unavailable for legitimate communication,
including while driving, working, engaging in the use of online dating apps, and performing
other critical tasks.

40. This complaint seeks injunctive relief and monetary damages.

41. The are numerous questions of law and fact include, but are not limited to, the
following:

(a) Whether the Defendant sent telemarketing calls to numbers on the National Do

Not Call Registry;
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(b) whether Defendants made calls to Plaintiff without first obtaining prior express
written consent to make the calls;
(c) whether Defendant conduct constitutes a violation of the TCPA;
(d) — whether Plaintiff is entitled to treble damages based on the willfulness of
Defendant conduct
FIRST CAUSE OF ACTION

Violation of the Telephone Consumer Protection Act
Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c)

42. _ Plaintiff incorporates the allegations in paragraphs 1-41 as if fully set forth herein.

43. The foregoing acts and omissions of Defendant and/or their affiliates, agents,
and/or other persons or entities acting on Defendant’s behalf constitute numerous and multiple
violations of the TCPA, 47 U.S.C. § 227, by making telemarketing calls, except for emergency
purposes, to Plaintiff despite his numbers being on the National Do Not Call Registry.

44. Defendant’s violations were negligent, willful, or knowing.

45. | Asaresult of Defendant’s, and/or their affiliates, agents, and/or other persons or
entities acting on Defendants’ behalf, violations of the TCPA, 47 U.S.C. § 227, Plaintiff is
presumptively entitled to an award of between $500 and $1,500 in damages for each call made
and the same damages for failure to provide a valid Do Not Call Policy.

46. Plaintiff is also entitled to and seeks injunctive relief prohibiting Defendant and/or
their affiliates, agents, and/or other persons or entities acting on Defendant’s behalf from making
telemarketing calls to telephone numbers registered on the National Do Not Call Registry, except

for emergency purposes, in the future.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the following relief:

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A. Injunctive relief prohibiting Defendant from calling telephone numbers
advertising their goods or services, to numbers on the National Do Not Call Registry in the
future;

B. That the Court enter a judgment awarding Plaintiff statutory damages of $500 for

each violation of the TCPA and $1,500 for each knowing or willful violation;

C. Prejudgment interest, and all costs associated with the prosecution of this claim.
D. Orders granting such other and further relief as the Court deems necessary, just,
and proper.
V. DEMAND FOR JURY

Plaintiff demands a trial by jury for all issues so triable.

RESPECTFULLY SUBMITTED AND DATED this May 15, 2024.

avid Tom

Plaintiff, Pro Se

1058 Herne Ave

Palm Bay, Florida 32907
321-725-9212
David.M.Tom@gmail.com
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DAVID TOM
1058 HERNE AVE
PALM BAY, FL 32907
May 20, 2024

MDFL CLERK OF COURT
SUBJECT: TOM V. 7TH ACE, LLC (6:24-cv-00761 )

DEAR MDFL CLERK:

Please find the attached documents to be filed in the above captioned case.

Please file first, the numbered paragraph complaint and jury demand and then please file the
notice of pendency of other actions, the disclosure statement and then Plaintiff's Ex Parte Motion
for Alternative Service

Thank you,

jes

David Tom
